Thomas M. Goula', Clerk
242 Fedeml Building

167 N. Mat'n Street
Memphis, Tennessee 38103
(901) 495-1200

Case 2:04-cr-20388-SH|\/| Bocument 82 Filed 07/19/05 Page 1 of 4 Page|D 108
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. F.,» _ .._ `\.......

UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division -;- t =`
Office of the Clerk CLEQ;P\L "';‘igi'COURT

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NOTICE OF SETTING
Before Judge Sa.muel H. Mays, Jr., United States Distl'ict Judge

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Juiy 18, 2005

RE: 2:04cr20388-Ma
USA v. HAROLD L. YANCY
JERRYB. RODGERS

Dear Sir/Madarn:

A REPORT DATE has been set before Judge Samuel H. Mays, Jr. for WEDNESDAY
AUGUST 24, 2005 at 1230 P.M. in Courtroom 2, 11"‘ floor of the Federa.l Building, Memphis,
Telmessee. The report date is required by Section IV, paragraph B(4) of the Speedy Trial Plan.
The plan requires that the defendant and his/her attorney appear at the above-designated time to give
a status report to the Court on the case. The defendant must be present at the Report Date unless the
Court excuses his/her appearance agl the defendant files a written waiver of appearance in advance
of the Report Date. Attorneys for the government and each defendant are expected to have furnished
and obtained ALL DISCOVERY MATERIAL prior to the Report Date.

 

Also, the attorney for each defendant is expected to have discussed with the defendant the
options of a change of plea, or of going to trial and should be prepared to advise the Court of
defendant ’s plan in this regard at the Report Date.

Parties are expected to be ready for trial at any time during the period from SEPTEMBER
6, 2005 to SEPTEMBER 16, 2005, upon four hours notice if the defendant is NOT in custody and
resides within the Western District of Tennessee or within a two-hour drive of the court and if the
prosecution has no out-of-town witnesses If these conditions are not met, the parties are expected
to be ready for trial at any time during this period on twenty-four hours notice.

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Deputy-in-Charge

U. S. Courthouse, Room 262
111 South Higkland Avenue
.Iackson, Tennessee 38301
(713) 421-9200

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Attorneys are expected to procure the issuance of writs for any in-custody witnesses no later
than AUGUST 24, 2005.

This case is set on the court’s Western Division criminal rotation docket. A description of
procedures utilized for this docket is available from the Clerk of Court.

As to defendants on bond, failure to appear as directed will result in a forfeiture of that
defendants appearance bond and issuance of a warrant for his or her arrest.

If you have any questions about this matter, please contact the case manager at the telephone
number provided below.

Sincerely,
THOMAS M. GOULD, CLERK

BY:
Jean Lee, Case Manager
901-495-1239

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
case 2:04-CR-20388 Was distributed by fax, mail, or direct printing on
July 26, 2005 to the parties listed.

ENNESSEE

 

Michael Edwin Scholl

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Honorable Samuel Mays
US DISTRICT COURT

